        Case 8:16-cv-00860-DKC Document 32-1 Filed 03/28/17 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                   )
CORPORATION, et al.,                          )
                                              )
               Plaintiffs,                    )
                                              )
       v.                                     )
                                                        Case No. 8:16-cv-00860-DKC
                                              )
FINANCIAL INDUSTRY                            )
REGULATORY AUTHORITY, INC.,                   )
                                              )
               Defendant.                     )
                                              )

                                     [PROPOSED] ORDER

       Upon consideration of the motion for leave to withdraw the appearance of Vijay Rao as

counsel for the defendants, it is hereby

       ORDERED that the motion is GRANTED.



Dated: __________________________                      _________________________
                                                       DEBORAH K. CHASANOW
                                                       United States District Judge
